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                                                                              April 8, 2020
BY E.C.F.
Honorable Judge Edgardo Ramos
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007
Tel (212) 805-0294
Courtroom 619 Chambers
NYSDRamos@nysd.uscourts.gov

              Re: Curkin, et al. v. City of New York.
              18 Civ. 07541 (ER)

Your Honor:

        I represent Plaintiffs Seth Curkin, Parastou Marashi, and myself, P. Jenny Marashi, in the
above captioned case. City attorney Frank DeLuccia and Plaintiffs are writing this joint letter to
respectfully request a sixty (60) day extension of time to complete discovery in the instant matter,
from April 10, 2020 to June 10, 2020. This is the parties’ first request for an extension of the
discovery deadline in this matter. The parties also respectfully request an adjournment of the case
management conference currently scheduled for April 17, 2020 at 10:00 am to a date convenient for
the Court following June 10, 2020. Other than the date of the above-referenced conference, this
request for an extension does not affect any other dates or deadlines in this matter.

        According to the Civil Case Management Plan and Scheduling Order submitted by the parties
and approved by this Court on June 20, 2019, discovery was scheduled to close by April 10, 2020.
The parties have been exchanging discovery and have conducted several depositions. However,
several depositions of parties and witnesses remain outstanding to date, either in whole or in part.
The parties respectfully request that the discovery deadline be extended due to the inability of the
parties to complete the remainder of the necessary depositions and other related discovery by the
current deadline.As the Court is aware, the ongoing coronavirus pandemic in New York City has
heavily impacted and disrupted normal business operations in the City of New York generally and for
the parties specifically, particularly given Governor Cuomo’s recent orders. A sixty (60) day
extension of the discovery deadline will accommodate these unprecedented and rapidly-developing
circumstances, including further anticipated delays and complications from staffing shortages as more
and more people must work from home, shelter in place, and generally avoid contact with one
another.

       The parties thank the Court for its consideration of their request.


                                                        Respectfully submitted,
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                                                          ________/s/__________
                                                          P. Jenny Marashi
                                                          for Plaintiffs


      cc: Frank DeLuccia (by ECF)


The request to extend the deadline to complete discovery to June 10, 2020 is GRANTED. The case management
conference is adjourned to June 23, 2020 at 11:00 AM.

IT IS SO ORDERED.


                                                      4/9/2020
